         Case 22-90341 Document 1701-1 Filed in TXSB on 01/11/24 Page 1 of 5




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                     §
In re:                                               §        Chapter 11
                                                     §
CORE SCIENTIFIC, INC., et al., 1                     §        Case No. 22-90341 (CML)
                                                     §
                                                     §        (Jointly Administered)
                                                     §        Dkt. No. ____


ORDER CLASSIFYING CERTAIN CLAIMS AS SECTION 510(b) CLAIMS (CLASS 11)
UNDER DEBTORS’ PROPOSED JOINT CHAPTER 11 PLAN OF REORGANIZATION

                 Upon the motion (the “Motion”)2 filed by the above-referenced debtors and debtors

in possession (collectively, the “Debtors”) for entry of an order (the “Order”) classifying certain

claims as Section 510(b) Claims (Class 11) under the Debtors’ Plan, pursuant to sections 502(b)

and 510(b) of the Bankruptcy Code, as set forth in the Motion; and the Court having jurisdiction

over the matters raised in the Motion pursuant to 28 U.S.C. § 1334; and the Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(B) and that the Court may enter a

final order consistent with Article III of the United States Constitution; and the Court having found

that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and the Court having found that the relief requested in the Motion is in the best

interests of the Debtors and their respective estates, creditors, and other parties in interest; and the



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
Mining LLC (6074); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII, LLC
(3198). The Debtors’ corporate headquarters is 210 Barton Springs Road, Suite 300, Austin, Texas 78704. The
Debtors’ service address is 2407 S. Congress Ave, Suite E-101, Austin, TX 78704.
2
 Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms in the
Motion
      Case 22-90341 Document 1701-1 Filed in TXSB on 01/11/24 Page 2 of 5




Court having found that proper and adequate notice of the Motion and hearing thereon has been

given and that no other or further notice is necessary; and the Court having found that good and

sufficient cause exists for the granting of the relief requested in the Motion after having given due

deliberation upon the Motion and all of the proceedings had before the Court in connection with

the Motion,

               IT IS HEREBY ORDERED THAT:

               1.      The Equity Damages Claims listed on Exhibit A annexed to this Order are

subordinated pursuant to section 510(b) of the Bankruptcy Code and are classified as Section

510(b) Claims (Class 11) under the Plan.

               2.      Nothing in this Order shall prejudice the Debtors’ right to contest any

Disputed Claim.

               3.      The Debtors are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

               4.      Notwithstanding the relief granted herein and any actions taken hereunder,

nothing contained in the Motion or this Order shall constitute, nor is it intended to constitute an

implication or admission as to the validity or priority of any claim or lien against the Debtors, a

waiver of the Debtors’, or any party in interest’s, rights to subsequently dispute such claim or

lien, a promise or requirement to pay any prepetition claim, an implication or admission that any

particular claim is of a type specified or defined in the Motion or any proposed order, a waiver of

the Debtors’, or any other party in interest’s, rights under the Bankruptcy Code or any other

applicable law, or the assumption or adoption of any agreement, contract, or lease under section

365 of the Bankruptcy Code.




                                                  2
      Case 22-90341 Document 1701-1 Filed in TXSB on 01/11/24 Page 3 of 5




               5.     Notice of this Motion as provided therein shall be deemed good and

sufficient notice and the applicable requirements of the Bankruptcy Code, the Bankruptcy Rules,

and the Local Rules are satisfied by such notice

               6.     The Court retains jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.


Dated:                         , 2024
         Houston, Texas

                                             THE HONORABLE CHRISTOPHER LOPEZ
                                             UNITED STATES BANKRUPTCY JUDGE




                                                   3
Case 22-90341 Document 1701-1 Filed in TXSB on 01/11/24 Page 4 of 5




                             Exhibit A
                             Case 22-90341 Document 1701-1 Filed in TXSB on 01/11/24 Page 5 of 5


                                                                                                                                                                             Privileged & Confidential
                                                                                                                                                                              Attorney Work Product

                                                                                                                                                                            In re Core Scientific Inc., et al.
Subordinated 510(b) Equity Interest Claims                                                                                                                                       Case No. 22-90341 (CML)

                                                                                                               Asserted Claim
                                               Claim Number to     Asserted Claim
                 Name of Claimant                                                      Asserted Debtor        Amount: General                        Reason for Reclassification
                                                be Reclassified       Priority
                                                                                                                 Unsecured
Alexandra Seifert                                    431          General Unsecured   Core Scientific, Inc.                2,482 Claim references 'violation of fiduciary duty / monetary harm'
Ani Kamali                                           229          General Unsecured   Core Scientific, Inc.             150,000 Claim references damages 'due to false info of Core Scientific'
Ann A. Meyer                                         248          General Unsecured   Core Scientific, Inc.               16,044 Claim references 'mismanagement and bankruptcy of the company'

Ann A. Meyer                                         247          General Unsecured   Core Scientific, Inc.               15,241 Claim references 'mismanagement and bankruptcy of the company'
Bay Colony Law Center LLC                            241          General Unsecured   Core Scientific, Inc.              151,474 Claim references 'fradulent stock sale'
Carrington Lobban                                    54           General Unsecured   Core Scientific, Inc.                1,093 Claim references 'misappropriation of stock funding'
Chad Dickman                                         349          General Unsecured   Core Scientific, Inc.                4,045 Claim references 'mismanagement + misleading investors'
                                                                                                                                  Claim references 'money lost securties as shareholder during class
Christopher Elliott Scott                            320          General Unsecured   Core Scientific, Inc.              359,512
                                                                                                                                 action period'
                                                                                                                                  Claim references 'I believed in what I read on this company. I feel
Cori Faerman                                         212          General Unsecured   Core Scientific, Inc.                   81
                                                                                                                                 betrayed'
                                                                                                                                  Claim references 'I believed in what I read about this company.
Cori Faerman                                         211          General Unsecured   Core Scientific, Inc.                   38
                                                                                                                                 Poorly managed. They lied'
FLORIDA SBA TTEE                                     384          General Unsecured   Core Scientific, Inc.              395,715 Claim references 'class period'
Francois Emmanuel Veilleux                           555          General Unsecured   Core Scientific, Inc.               75,000 Claim references 'miss management of funds and assets'
Jason Walters [Jason Walters IRA]                    311          General Unsecured   Core Scientific, Inc.               21,193 Claim references 'lack of disclosure'
Marvin W. Meyer                                      250          General Unsecured   Core Scientific, Inc.               12,848 Claim references 'mismanagement'
Marvin W. Meyer                                      249          General Unsecured   Core Scientific, Inc.               22,118 Claim references 'mismanagement'
Michael & Elizabeth Silbergleid TRS FBO
Silverknight Group Inc 401k Plan FBO Michael         82           General Unsecured   Core Scientific, Inc.                   27 Claim references 'fraudulent appearance on Bloomberg TV by CEO'
Silbergleid
Michael & Elizabeth Silbergleid TRS FBO
Silverknight Group Inc 401k Roth Plan FBO            81           General Unsecured   Core Scientific, Inc.                7,963 Claim references 'fraudulent appearance on Bloomberg TV by CEO'
Michael Silbergleid
                                                                                                                                 Claim references 'securities fraud or other unlawful business
Robert Joseph                                        351          General Unsecured   Core Scientific, Inc.               39,390
                                                                                                                                 practices'
Thrasivoulos Dimitriou                               52           General Unsecured   Core Scientific, Inc.                3,104 Claim references 'failure to disclose material facts'
Total                                                                                                                  1,277,368
